                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


                                                 )      DOCKET NO. 3:07 CR 119
UNITED STATES of AMERICA,                        )
                                                 )
                                                 )
              v.                                 )
                                                 )
ALFREDO SUSI (4),                                )
                                                 )

                            FINAL ORDER OF FORFEITURE

       WHEREAS, on April 2, 2008, the jury, by Special Verdict, pursuant to Rule

32.2(b)(4) of the Federal Rules of Criminal Procedure determined that the Defendant

obtained $1,885,359.00 in proceeds from the offenses alleged in Counts 1, 4 through 7,

and 11 through 24 of the Bill of Indictment, for which the Defendant has been

convicted, and

       WHEREAS, the United States has filed a Motion for Entry of Final Order of

Forfeiture which would consist of a personal money judgment against the Defendant in

the amount of $1,885,359.00, and

       WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to

the extent that the forfeiture consists of a money judgment,"

       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

that the Defendant shall forfeit to the United States the sum of $1,885,359.00 pursuant

to Title 18, United States Code, § 982(a)(8).

       IT IS FURTHER ORDERED that the United States District Court shall retain

jurisdiction in the case for the purpose of enforcing this Order; and




   Case 3:07-cr-00119-FDW-DCK          Document 153       Filed 11/25/08   Page 1 of 2
      IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), this Order of

Forfeiture shall become final as to the defendant at the time of sentencing, and shall be

made part of the sentence and included in the judgment;

      IT IS FURTHER ORDERED that the United States may, at any time, move

pursuant to Rule 32.2(e) to amend this Order of Forfeiture to substitute property having

a value not to exceed $1,885,359.00 to satisfy the money judgment in whole or in part.



                                            Signed: November 25, 2008




   Case 3:07-cr-00119-FDW-DCK         Document 153      Filed 11/25/08    Page 2 of 2
